                Case 2:11-cr-00166-MCE Document 193 Filed 04/03/14 Page 1 of 3


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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                         )       Case No. 2:11-cr-00166-MCE-4
                                                       )
                                                       )
10             Plaintiff,                              )       STIPULATION REGARDING
11
                                                       )       EXCLUDABLE TIME PERIODS
     v.                                                )       UNDER SPEEDY TRIAL ACT;
                                                       )       FINDINGS
12
     HUANCHANG MA,                                     )
                                                       )       Date: May 15, 2014
13
                                                       )       Time: 9:00 a.m.
               Defendant.                              )       Judge: Honorable Morrison C. England, Jr.
14
                                                       )
                                                       )
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                                                       )
16
               The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on April 3, 2014.
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          2. By this stipulation, defendant now moves to continue the status conference until May 15,
22
     2014 and to exclude time between April 3, 2014 and May 15, 2014 under the Local Code T-4 (to
23

24
     allow defense counsel time to prepare).

25        3.   The parties agree and stipulate, and request the Court find the following:
26
               a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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                   individuals have been charged. Many, if not all the defendants a part of this

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      Case 2:11-cr-00166-MCE Document 193 Filed 04/03/14 Page 2 of 3


        investigation are non English speakers and require the services of an interpreter to be
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 2      communicated with. The widespread need for Cantonese/Mandarin interpreters in

 3      this case, the companion cases(s), and in general, has made scheduling meetings very
 4
        difficult. However, as this case is winding up, scheduling has become less difficult.
 5
        To that end, the defense has provided the government with additional discovery and
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 7
        the Government needs time to review the material and evaluate their next step.

 8   b. The defense has proffered a proposed resolution to the government and the
 9      government needs additional time to review the settlement proposal. Additional
10
        meetings between counsel for Mr. Ma and the government are necessary to discuss
11
        the proposed resolution.
12

13   c. The government has suggested additional information regarding Mr. Ma which may

14      impact settlement and the defense is in the process of acquiring the information. This
15
        information will be relevant whether the government agrees to modify their present
16
        offer to resolve or not.
17
     d. Mr. Ma lives in the San Francisco area and speaks only Mandarin. Once the
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19      government has evaluated the information provided to the defense, the defense will

20      need additional time to review the government’s response and the anticipated plea
21
        agreement. It is anticipated Mr. Ma will enter a change of plea at the next requested
22
        court date (May 15, 2014).
23

24
     e. The government does not object to the continuance.

25   f. Based on the above-stated findings, the ends of justice served by granting the
26      requested continuance outweigh the best interests of the public and the defendant in a
27
        speedy trial within the original date prescribed by the Speedy Trial Act.
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              Case 2:11-cr-00166-MCE Document 193 Filed 04/03/14 Page 3 of 3


            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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 2              Section 3161(h)(7)(A) within which trial must commence, the time period of April 3,

 3              2014, to May 15, 2014, inclusive, is deemed excludable pursuant to 18 United States
 4
                Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4 because
 5
                it results from a continuance granted by the Court at defendant’s request on the basis
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 7
                of the Court’s finding that the ends of justice served by taking such action outweigh

 8              the best interest of the public and the defendant in a speedy trial.
 9     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
10
            Speedy Trial Act dictate that additional time periods are excludable from the period within
11
            which a trial must commence.
12

13   IT IS SO STIPULATED.

14   Dated: April 1, 2014                                           /s/ John R. Manning
                                                                   JOHN R. MANNING
15
                                                                   Attorney for Defendant
16                                                                 Huanchang Ma

17   Dated: April 1, 2014                                          Benjamin B. Wagner
                                                                   United States Attorney
18

19                                                                 by:/s/ Christiaan Highsmith
                                                                   CHRISTIAAN HIGHSMITH
20                                                                 Assistant U.S. Attorney
21

22                                                ORDER
23
            IT IS SO FOUND AND ORDERED.
24
     Dated: April 2, 2014
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